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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NATHSON E. FIELDS,                                 )
                                                   )
                       Plaintiff,                  )
                                                   )
               v.                                  )   Case No. 10 C 1168
                                                   )
CITY OF CHICAGO, et al.,                           )   Judge Matthew F. Kennelly
                                                   )
                       Defendants.                 )   Magistrate Judge Geraldine Soat Brown

    DEFENDANT CITY OF CHICAGO’S MOTION FOR DIRECTED VERDICT ON
                     PLAINTIFF’S MONELL CLAIM

       Defendant, City of Chicago (the “City”), by its attorney, Terrence M. Burns of Dykema

Gossett, PLLC, for its motion for directed verdict under Rule 50(a) on plaintiff’s Section 1983

claim under Monell, states as follows:

       Plaintiff has presented his case in chief. Plaintiff has failed to present legally sufficient

evidence for the jury to find a policy or widespread practice within the City of “systematically

suppress[ing] Brady material by intentionally secreting discoverable information from so-called

‘street files.’” (Third Amended Complaint (Dkt. #105) (“TAC”) ¶ 65.) Accordingly, judgment as

a matter of law should be entered in favor of the City on plaintiff’s Monell claim.

                                           STANDARD

       A judgment can be entered as a matter of law if during a trial by jury a party has been

fully heard on an issue and there is no legally sufficient evidentiary basis for a reasonable jury to

find for that party on an issue. Fed. R. Civ. P. 50(a). The evidence must be viewed in the light

most favorable to the non-moving party and the Court must determine whether the evidence is

sufficient to sustain a verdict in favor of the non-moving party. Hammond Group, Ltd. v.

Spalding & Evenflo Companies, Inc., 69 F.3d 845, 848 (7th Cir. 1995).
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                                             DISCUSSION

        In his Monell claim, plaintiff alleges the City is liable to plaintiff for allowing a

widespread practice of hiding investigative files to continue, which led to the deprivation of

those investigative materials in both of his criminal trials. (See TAC ¶¶63-67.1) The first step

plaintiff must take in proving his Monell claim is to establish that he suffered a constitutional

injury. Thompson v. Boggs, 33 F.3d 847, 859 (7th Cir. 1994). Plaintiff then must show

“deliberate action attributable to the municipality itself is the ‘moving force’ behind the

plaintiff’s deprivation of federal rights.” Board of County Commissioners of Bryan County,

Oklahoma v. Brown, 520 U.S. 397, 400 (1997) (hereafter “Bryan County”). Next, plaintiff must

establish the requisite degree of culpability on the City’s part—namely, that the alleged

municipal practices were carried out with “deliberate indifference” to their known or obvious

consequences. City of Canton v. Harris, 489 U.S. 378, 388 (1989). Finally, plaintiff must

demonstrate a direct causal link between the municipal policy and the constitutional injury.

Bryan County, 520 U.S. at 404.

        The City cannot be liable for plaintiff’s alleged constitutional injuries without evidence of

a deficient policy or practice. “A municipality may not be held liable under §1983 solely because

it employs a tortfeasor.” Bryan County, 520 U.S. at 403. The Supreme Court has “consistently

refused to hold municipalities liable under a theory of respondeat superior.” Id.

        A plaintiff seeking to hold a municipality liable under §1983 must show that his alleged

constitutional injury is attributable to the municipality itself in one of three ways. First, he may

prove that “an express policy . . . when enforced, cause[d] a constitutional deprivation.”

McTigue v. City of Chicago, 60 F. 3d 381, 382 (7th Cir. 1995). Second, he may prove that his

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          Per the pretrial order, plaintiff is no longer pursuing a Monell claim based on the other policies
and practices alleged in the TAC.



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constitutional injury was caused by “a widespread practice that, although not authorized by

written law or express municipal policy, [was] so permanent and well settled as to constitute a

custom or usage with the force of law.” Id. Finally, he may prove that his constitutional injury

was caused by “the act of a person with final policymaking authority.” Id.

       Plaintiff contends the Chicago Police Department had a policy of withholding

exculpatory information in so-called “street files.” (TAC ¶63). The City’s express policies refute

this claim. As the evidence has shown at trial, Detective Division Special Order 83-1, adopted in

1983, requires the maintenance and retention of working files, investigative documents, and

personal notes generated by homicide detectives during an investigation. (See Dfts.’ Exhibit 54.)

As such, the CPD policy in 1984-85, contrary to plaintiff’s allegations, was that all information

obtained during a homicide investigation, including materials helpful to the defense, were to be

preserved. Even if the evidence shows that the CPD failed to tender the file at issue in this case,

that non-production was contrary to the CPD’s express policy.

       If plaintiff is basing his Monell claim on a “custom” -- i.e., a practice that has “not been

formally approved by an appropriate decision maker” but is “so widespread as to have the force

of law,” Bryan County, 520 U.S. at 404, it still fails. Custom can be established through

widespread, enduring practices that violate constitutional rights in a systematic manner. See

McNabola v. Chicago Transit Authority, 10 F.3d 501, 511 (7th Cir. 1993). “Isolated” acts

committed by non-policymaking officials do not amount to a “custom,” which “implies a

habitual practice of a course of action that characteristically is repeated under like

circumstances.” Sims v. Mulcahy, 902 F.2d 524, 542 (7th Cir. 1990) (quoting Jones v. City of

Chicago, 787 F.2d 200, 204 (7th Cir. 1986)), cert. denied, Sims v. Mulcahy, 498 U.S. 897 (1990).




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       Plaintiff has not presented any evidence there was a widespread practice at the CPD of

withholding exculpatory evidence after Special Order 83-1 was implemented in 1983. Plaintiff

has presented no evidence of another case after Special Order 83-1 was issued where it was

established exculpatory material was withheld by CPD detectives. Plaintiff’s own expert, Lou

Reiter, conceded at trial that he is unaware of any other case since the implementation of Special

Order 83-1 in which it was established the CPD withheld Brady or Giglio material from a

suspect in a so-called “street file.” He conceded that in forming his opinion the only so-called

“street file” he reviewed was the one relating to plaintiff. In other words, plaintiff has failed to

present evidence of a practice that was so widespread as to have the force of law, i.e., a custom.

Proof of a pattern of misconduct requires multiple prior incidents before it can be actionable

under Monell; a single incident is insufficient. Connick v. Thompson, 131 S.Ct. 1350 (2011);

Jenkins v. Bartlett, 487 F.3d 482, 492-93 (7th Cir. 2007) (four incidents in a five-year span

insufficient); Grieveson v. Anderson, 538 F.3d 763, 773 (7th Cir. 2008) (four alleged instances

did not point to a widespread practice). Plaintiff’s failure to prove an express policy or a

widespread practice of withholding exculpatory evidence is fatal to his “street files” Monell

claim. Because a reasonable jury would not have a legally sufficient evidentiary basis to find for

plaintiff on his Monell claim, judgment as a matter of law should be entered in favor of the City.

       In addition, plaintiff has offered no legal or evidentiary support to establish the

requirement for an audit mechanism relating to Special Order 83-1. There is also no evidence of

any practice of violating Special Order 83-1 that would have placed the CPD on notice an audit

was necessary or appropriate. Jim Hickey testified he personally trained over 1,000 detectives on

Special Order 83-1, and the detectives in this case testified they were aware of and followed the

policy requiring that all materials be submitted for placement in the investigatory file. Hickey




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also testified that there are audit mechanisms as set forth in Section V-C of Special Order 83-1,

which ensure that the violent crimes unit commanding officer is overseeing the provisions in the

Special Order.

       Plaintiff’s arguments also run afoul of the Supreme Court’s prohibition against “more or

better” Monell claims. See City of Canton v. Harris, 489 U.S. 378, 391 (1989); Frake v. City of

Chicago, 210 F.3d 779, 782 (7th Cir. 2000) (“The existence or possibility of other better policies

which might have been used does not necessarily mean that the defendant was being deliberately

indifferent”); Edwards v. Gilbert, 867 F.2d 1271, 1276 (11th Cir. 1989) (no liability for suicide

although a better, more up-to-date screening procedure might have identified victim as a risk

requiring special procedures). Lou Reiter testified at trial that the implementation of General

Order 83-1 was, ahead of its time and a good police practice, and he was not aware of any other

city in the country that had a similar written policy at that time, let alone an audit provision. The

suggestion Special Order 83-1should have had an audit mechanism is, at best, a “more or better”

claim prohibited by the Supreme Court.

       At most, plaintiff has presented evidence that the file at issue is not in the format required

for an investigative file case folder under Special Order 83-1, and that its storage at Area One, as

opposed to Records Division’s warehouse, does not comply with that order. This evidence does

not establish a constitutional violation that would support his Monell claim. The issue here is not

whether a police department rule or order (Detective Division Special Order 83-1) was violated;

the issue is whether a City policy was the moving force behind a deprivation of plaintiff’s

constitutional rights. See Doe v. County of Milwaukee, 903 F.2d 499, 502 (7th Cir. 1990) (“not

every state or municipal law, regulation, or ordinance creates a constitutionally protected

entitlement”); see also Seventh Circuit Pattern Civil Jury Instruction 7.04. In other words, the




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purported violations of Detective Division Special Order 83-1, standing alone, do not establish

the City had a policy or practice of withholding Brady or Giglio material from criminal

defendants.

       Finally, plaintiff has failed to establish the requisite degree of culpability on the City’s

part—namely, that the alleged municipal practices were carried out with “deliberate

indifference” to their known or obvious consequences, City of Canton, 489 U.S. at 388, or that

there is a direct causal link between the municipal policy and the constitutional injury. Bryan

County, 520 U.S. at 404.

       WHEREFORE, defendant, the City of Chicago, respectfully requests that this Court grant

its motion for a directed verdict on plaintiff’s Monell claim and for any other relief this Court

deems appropriate.



Date: April 22, 2014                                Respectfully submitted,


                                                    s/ Daniel M. Noland
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2014, I electronically filed the foregoing Defendant

City of Chicago’s Motion for Directed Verdict on Plaintiff’s Monell Claim with the Clerk of

the Court using the ECF system, which sent electronic notification of the filing on the same day

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                                                 s/ Daniel M. Noland
